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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-06-0441 GEB
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND
11
                                                     )       [PROPOSED ORDER] CONTINUING
     v.                                              )       STATUS CONFERENCE
12
                                                     )
     RICARDO VENEGAS and                             )       Date: February 24, 2012
13
                                                     )       Time: 9:00 a.m.
     VIGILIO PINEDA,                                 )       Judge: Honorable Garland E. Burrell, Jr.
14
                                                     )
            Defendants.                              )
15
                                                     )
                                                     )
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18          IT IS HEREBY stipulated between the United States of America through its undersigned

19   counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant

20   Ricardo Venegas, John R. Manning, Esq., and counsel for defendant Vigilio Pineda, David D.

21   Fischer, Esq., that the status conference presently set for January 13, 2012 be continued to

22   February 24, 2012, at 9:00 a.m., thus vacating the presently set status conference. Defendants

23   Wendell Stewart and Isauro Jauregui Catalan will remain on calendar.

24          Further, all of the parties, the United States of America and all of the defendants as stated

25   above, hereby agree and stipulate that the ends of justice served by the granting of such a

26   continuance outweigh the best interests of the public and the defendants in a speedy trial and that

27   time under the Speedy Trial Act should therefore be under meaning of Title 18, United States

28   Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time for effective preparation,



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 1   specifically the continuance is requested to allow more time for defense preparation and possible
 2   negotiations for resolution) and Local Code T4, and agree to exclude time from the date of the
 3   filing of the order until the date of the status conference, February 24, 2012.
 4   IT IS SO STIPULATED.
 5
     Dated: January 10, 2012                                        /s/ John R. Manning
 6                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
 7                                                                 Ricardo Venegas
 8
     Dated: January 10, 2012                                       /s/ David D. Fischer
 9                                                                 DAVID D. FISCHER
                                                                   Attorney for Defendant
10                                                                 Vigilio Pineda
11

12
     Dated: January 10, 2012                                       Benjamin B. Wagner
13                                                                 United States Attorney
14
                                                           by:     /s/ Jill M. Thomas
15                                                                 JILL M. THOMAS
                                                                   Assistant U.S. Attorney
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                            Case 2:06-cr-00441-DAD Document 418 Filed 01/11/12 Page 3 of 3



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 7
                                           IN THE UNITED STATES DISTRICT COURT
                                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

     UNITED STATES OF AMERICA,                                ) No. CR-S-06-0441 GEB
 9
                                                              )
                                                              )
10                         Plaintiff,                         ) [PROPOSED] ORDER TO
                                                              ) CONTINUE STATUS CONFERNCE
11
     v.                                                       )
                                                              )
12
     RICARDO VENEGAS and                                      )
                                                              )
13   VIGILIO PINEDA,                                          )
                                                              )
14
                           Defendants.                        )
                                                              )
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                                                              )
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17
                           GOOD CAUSE APPEARING, it is hereby ordered that the January 13, 2012 status

18
     conference be continued to February 24, 2012 at 9:00 a.m. I find that the ends of justice warrant

19
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time

20
     for effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT

21
     IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv)

22
     and Local Code T4 from the date of this order to February 24, 2012.

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     IT IS SO ORDERED.

24
     Date: 1/10/2012

25
                                                                   _________________________
26                                                                 GARLAND E. BURRELL, JR.
                                                                   United States District Judge
27

28
     DEAC_Signature-END:




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